                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA


 JOHN DOE,

                Plaintiff,                                 CASE NO. 19-cv-4082

 v.

 DORDT UNIVERSITY f/k/a DORDT
 COLLEGE; DORDT UNIVERSITY BOARD                  JOINT MOTION TO CONTINUE TRIAL
 OF TRUSTEES; HOWARD WILSON,
 individually and as agent for Dordt
 University; ROBERT TAYLOR, individually
 and as agent for Dordt University; DEREK
 BUTEYN, individually and as agent for
 Dordt University; and ERIN OLSON,
 individually and as agent for Dordt
 University,

               Defendants.

       Pursuant to Local Rule 16(f), Plaintiff John Doe and Defendants Dordt University,

Dordt University Board of Trustees, Howard Wilson, Robert Taylor, Derek Buteyn, and

Erin Olson (collectively, the “parties”) move the Court for an order modifying the current

Order Rescheduling Trial and Final Pretrial Conference (Doc. 41). As grounds therefore,

the parties state as follows:

       1.     Defendants filed their Motion for Summary Judgment on March 18, 2022,

seeking dismissal of all claims. The parties thoroughly briefed the matter, and the Court

heard oral argument on May 25, 2022. The Court’s decision on Defendants’ Motion for

Summary Judgment is still pending.

       2.     Under the current scheduling order, the parties are to exchange witness and

exhibit lists, jury instructions, and motions in limine on or before July 11, 2022. The

deadline for the parties to submit their joint proposed pretrial order is July 29, 2022, and


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trial is set to begin August 15, 2022.

        3.    The parties believe that it would promote judicial economy and efficiency to

extend the deadlines for trial and the corresponding pretrial deadlines so that the parties

may consider the Court’s summary judgment ruling and what claims, if any, remain before

preparing their respective motions in limine, jury instructions, witness lists, and exhibit

lists. The parties agree that the substance of the pretrial filings will materially change

based on what claims remain for trial.

        4.    Thus, the parties request that the Court enter an Amended Order

Rescheduling Trial and Final Pretrial Conference delaying trial until after the entry of the

Court’s Decision and Order on Defendants’ Motion for Summary Judgment. The parties

have conferred, and they are available for trial on the following dates:

                               February 27 – March 3, 2023;
                                March 6 – March 10, 2023;
                                March 13, - March 17, 2023;
                              March 27 – March 31, 2023; and
                                 April 10 – April 14, 2023

        5.    The parties agree that the Trial Management Order for Civil Jury Trial

(Doc. 25) will continue to govern this case with the new trial date substituted; all deadlines

established in the trial management order shall be calculated from the substituted trial

date.

        WHEREFORE, the parties respectfully request an amended order rescheduling

trial and final pretrial conference.

        Dated this 5th day of July, 2022.




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                            JOHN DOE, Plaintiff,

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                            and

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                            DORDT UNIVERSITY F/K/A DORDT COLLEGE;
                            DORDT UNIVERSITY BOARD OF TRUSTEES;
                            HOWARD WILSON, ROBERT TAYLOR, DEREK
                            BUTEYN, AND ERIN OLSON, Defendants,



                            By: /s/Leigh Campbell Joyce
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of July, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent notification of such filing
to the following:

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